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            UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF TEXAS
                FORT WORTH DIVISION


 John Kelley, et al.

                       Plaintiffs,
                                       Case No. 4:20-cv-00283-O
 v.

 Xavier Becerra, et al.,

                       Defendants.


                  BRIEF IN SUPPORT OF PLAINTIFFS’
                  MOTION FOR SUMMARY JUDGMENT
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    The Affordable Care Act empowers the U.S. Preventive Services Task Force, the
Advisory Committee on Immunization Practices, and the Health Resources and Ser-

vices Administration to unilaterally determine the “preventive care” that private health
insurance must cover. See 42 U.S.C. § 300gg-13 (App. 2). Since the Affordable Care
Act’s enactment, these agencies have issued numerous pronouncements that force
health-insurance issuers and self-insured plans to cover certain forms of preventive
care without any cost-sharing arrangements such as deductibles and co-pays. In 2011,
for example, the Health Resources and Services Administration issued a highly con-
troversial pronouncement that compels private insurance to cover all forms of FDA-
approved contraceptive methods, including contraceptive methods that operate as
abortifacients (App. 21). In June of 2019, the U.S. Preventive Services Task Force
issued an equally controversial decree that requires private insurance to cover pre-
exposure prophylaxis (PrEP) drugs such as Truvada and Descovy starting in 2021.
(App. 10). The plaintiffs are challenging the legality of these and other preventive-
care mandates under the Constitution and the Religious Freedom Restoration Act.
And the plaintiffs are entitled to summary judgment, as there are no genuine issues
of material fact and the plaintiffs are entitled to judgment as a matter of law.

                             UNDISPUTED FACTS
    The Affordable Care Act requires group health plans and health-insurance issuers
to cover “evidence-based items or services that have in effect a rating of ‘A’ or ‘B’ in
the current recommendations of the United States Preventive Services Task Force,”
and to cover these items or services without any cost-sharing requirements such as
deductibles or co-pays. See 42 U.S.C. § 300gg-13(a)(1) (App. 2).
    A separate provision of the Affordable Care Act requires group health plans and
health-insurance issuers to cover “immunizations that have in effect a recommenda-




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tion from the Advisory Committee on Immunization Practices of the Centers for
Disease Control and Prevention with respect to the individual involved,” and to do

so without any cost-sharing requirements such as deductibles or co-pays. See 42 U.S.C.
§ 300gg-13(a)(2) (App. 2).
     Another provision requires group health plans and health-insurance issuers to
cover “with respect to infants, children, and adolescents, evidence-informed preven-
tive care and screenings provided for in the comprehensive guidelines supported by
the Health Resources and Services Administration,” and to cover this preventive care
and screenings without any cost-sharing requirements such as deductibles or co-pays.
See 42 U.S.C. § 300gg-13(a)(3) (App. 2).
     And yet another provision requires group health plans and health-insurance issu-
ers to cover “with respect to women, such additional preventive care and screenings
not described in [42 U.S.C. § 300gg-13(a)(1)] as provided for in comprehensive
guidelines supported by the Health Resources and Services Administration for pur-
poses of this paragraph.” These “preventive care and screenings” for women must be
provided without any cost-sharing requirements such as deductibles or co-pays. See
42 U.S.C. § 300gg-13(a)(4) (App. 2).

I.     The Contraceptive Mandate
     On August 1, 2011 — more than one year after the Affordable Care Act was
signed into law — the Health Resources and Services Administration issued guidelines
requiring that all FDA-approved contraceptive methods be covered as “preventive
care” under 42 U.S.C. § 300gg-13(a)(4). In response to the HRSA’s decree of August
1, 2011, the Secretary of Health and Human Services, the Secretary of the Treasury,
and the Secretary of Labor issued notice-and-comment regulations to implement
HRSA’s decision to require private insurers to cover contraception. These rules are
known as the “Contraceptive Mandate,” and they are codified at 45 C.F.R.




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§ 147.130(a)(1)(iv), 29 C.F.R. § 2590.715–2713(a)(1)(iv), and 26 C.F.R.
§ 54.9815–2713(a)(1)(iv).

    On May 4, 2017, President Trump issued an executive order instructing the Sec-
retary of the Treasury, the Secretary of Labor, and the Secretary of Health and Human
Services to amend the Contraceptive Mandate to address conscience-based objec-
tions. See Executive Order 13798. In response to this order, the Department of the
Treasury, the Department of Labor, and the Department of Health and Human Ser-
vices issued a final rule on November 15, 2018, that exempts any non-profit or for-
profit employer from the Contraceptive Mandate if it opposes the coverage of contra-
ception for sincere religious reasons. See Religious Exemptions and Accommodations
for Coverage of Certain Preventive Services Under the Affordable Care Act, 83 Fed.
Reg. 57,536 (November 15, 2018).
    The final rule also sought to accommodate individuals who object to contracep-
tive coverage in their health insurance for sincere religious reasons. See id. at 57,590
(creating a new provision in 45 C.F.R. § 147.132(b)). Under the original Contracep-
tive Mandate, individual religious objectors were forced to choose between purchas-
ing health insurance that covers contraception or forgoing health insurance entirely —
unless they could obtain insurance through a grandfathered plan or a church employer
that was exempt from Contraceptive Mandate. The final rule ensured that individual
religious objectors would have the option to purchase health insurance that excludes
contraception from any willing health insurance issuer.

    The final rule was scheduled to take effect on January 14, 2019. On January 14,
2019, however, a federal district court in Pennsylvania issued a nationwide preliminary
injunction against its enforcement. See Pennsylvania v. Trump, 351 F. Supp. 3d 791
(E.D. Pa. 2019). The Third Circuit affirmed this nationwide preliminary injunction
on July 12, 2019. See Pennsylvania v. President of the United States, 940 F.3d 543 (3d




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Cir. 2019). The Supreme Court granted certiorari and vacated the nationwide injunc-
tion in Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.

2367 (2020), but the litigation over the Trump Administration’s rule continues.
      In response to the nationwide injunction issued in Pennsylvania v. Trump, a law-
suit was filed in the Northern District of Texas to enjoin federal officials from enforc-
ing the Obama-era contraceptive mandate against the religious objectors protected by
the Trump Administration’s final rule of November 15, 2018. The district court held
that the protections conferred in the Trump Administration’s final rule were com-
pelled by the Religious Freedom Restoration Act, and permanently enjoined federal
officials from enforcing the Contraceptive Mandate against any religious objector pro-
tected by the final rule. See DeOtte v. Azar, 393 F. Supp. 3d 490 (N.D. Tex. 2019).
As a result of DeOtte, the protections conferred by the Trump Administration’s final
rule are in full force and effect because they have been incorporated into the DeOtte
injunction. Despite the DeOtte injunction, few if any insurance companies are cur-
rently offering health insurance that excludes coverage for contraception, and the con-
tinued existence of the Contraceptive Mandate restricts the options available to those
who wish to purchase health insurance but who do not need or want contraceptive
coverage.1

II.     The Plaintiffs
      Each of the plaintiffs wishes to obtain or provide health insurance that excludes
or limits coverage that is currently required by the preventive-care mandates imposed
by the U.S. Preventive Services Task Force, the Advisory Committee on Immuniza-
tion Practices, and the Health Resources and Services Administration.




1.    See notes 7, 13, 20, 24, 32 and accompanying text.


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        A.      Plaintiffs John Kelley, Joel Starnes, Zach Maxwell, and Ashley
                Maxwell
      Plaintiffs John Kelley, Joel Starnes, Zach Maxwell, and Ashley Maxwell are re-

 sponsible for providing health coverage for themselves and their respective families.2
 Each of them wants the option of purchasing health insurance that excludes or limits
 coverage of preventive care that they do not want or need, as well as preventive care
 that violates their sincere religious beliefs.3 Each of them also wants the option of
 purchasing health insurance that limits coverage of preventive care or that imposes
 copays or deductibles for preventive care, with corresponding adjustments in the
 monthly premiums, so that they can choose a policy that best suits their needs and
 the needs of their families.4
      The defendants are currently requiring health insurers to provide coverage of
 numerous forms of preventive care that the plaintiffs Kelley, Starnes, and Mr. and Mrs.
 Maxwell do not want or need, because neither they nor their family members engage
 in the behaviors or lifestyle choices that makes such preventive care necessary.5
 Plaintiffs Kelley, Starnes, and Mr. and Mrs. Maxwell also object on religious grounds
 to the compulsory coverage of PrEP drugs, contraception, the HPV vaccine, and the
 screenings and behavioral counseling for STDs and drug use, because this coverage
 faciliates and encourages homosexual behavior, drug use, and sexual activity outside




 2.   See Kelley Decl. ¶ 4 (App. 33); Starnes Decl. ¶ 4 (App. 39); Zach Maxwell Decl.
      ¶ 4 (App. 50); Ashley Maxwell ¶ 4 (App. 56).
 3.   See Kelley Decl. ¶ 5 (App. 33); Starnes Decl. ¶ 5 (App. 39); Zach Maxwell Decl.
      ¶ 5 (App. 50); Ashley Maxwell ¶ 5 (App. 56).
 4.   See Kelley Decl. ¶ 6 (App. 33); Starnes Decl. ¶ 6 (App. 39); Zach Maxwell Decl.
      ¶ 6 (App. 50); Ashley Maxwell ¶ 6 (App. 56).
 5.   See Kelley Decl. ¶¶ 7–10 (App. 34–36); Starnes Decl. ¶¶ 7–10 (App. 40–42);
      Zach Maxwell Decl. ¶¶ 7–10 (App. 51–53); Ashley Maxwell ¶¶ 7–10 (App. 57–
      59).


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 of marriage between one man and one woman.6 The defendants’ enforcement of the
 preventive-care mandates is limiting the plaintiffs’ ability to obtain health insurance

 that excludes this unwanted coverage.7

         B.      Plaintiff Joel Miller
       Plaintiff Joel Miller is responsible for providing health coverage for himself and
 his family.8 Mr. Miller wants the option for purchasing health insurance that excludes
 or limits coverage of preventive care that he does not want or need.9 He also wants

 the option of purchasing health insurance that limits coverage of preventive care or
 that imposes copays or deductibles for preventive care, with corresponding
 adjustments in the monthly premiums, so that he can choose a policy that best suits
 his needs and the needs of his family.10
       The defendants are currently requiring health insurers to provide coverage of
 numerous forms of preventive care that Mr. Miller does not want or need, because
 neither he nor his family members engage in the behaviors or lifestyle choices that
 makes such preventive care necessary.11 Mr. Miller also wants to purchase health in-
 surance that excludes coverage of contraception because his wife is past her childbear-
 ing years.12 The defendants’ enforcement of the preventive-care mandates is limiting
 Mr. Miller’s ability to obtain health insurance that excludes this unwanted coverage.13



 6.     Kelley Decl. ¶¶ 11–15 (App. 36–37); Starnes Decl. ¶¶ 11–15 (App. 42–43);
        Zach Maxwell Decl. ¶¶ 11–15 (App. 53–54); Ashley Maxwell ¶¶ 11–15 (App.
        59–60).
 7.     See Kelley Decl. ¶ 20 (App. 37); Starnes Decl. ¶ 16 (App. 43); Zach Maxwell
        Decl. ¶ 16 (App. 54); Ashley Maxwell ¶ 16 (App. 60).
 8.     Miller Decl. ¶ 4 (App. 62).
 9.     Miller Decl. ¶ 5 (App. 62).
 10.    Miller Decl. ¶ 6 (App. 62).
 11.    Miller Decl. ¶¶ 7–10 (App. 63–65).
 12.    Miller Decl. ¶ 10 (App. 64–65).
 13.    Miller Decl. ¶ 11 (App. 65).


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         C.     Plaintiff Gregory Scheideman
       Plaintiff Gregory Scheideman is responsible for providing health coverage for
 himself and his family.14 He is also part owner of a business that employs approxi-

 mately 27 individuals, and he provides health insurance to each of his employees
 through his company.15
       Dr. Scheideman wants the option of purchasing health insurance for himself and
 his family that excludes or limits coverage of preventive care that he does not want or
 need.16 He also wants the option of purchasing health insurance for his employees
 that excludes or limits coverage of preventive care that his partners and he do not
 want to cover.17 And Dr. Scheideman wants the option of purchasing health insurance
 that limits coverage of preventive care or that imposes copays or deductibles for pre-
 ventive care, with corresponding adjustments in the monthly premiums, so that he
 can choose a policy that best suits his needs and the needs of his family, and so that
 his partners and he can choose policies for their employees that best suit the needs of
 their business.18
       The defendants are currently requiring health insurers to provide coverage of

 numerous forms of preventive care that Dr. Scheideman does not want or need, and
 that neither Dr. Scheideman nor his partners wish to provide to their employees.19
 The defendants’ enforcement of the preventive-care mandates is limiting Dr.
 Scheideman’s ability to obtain health insurance that excludes this unwanted
 coverage.20



 14.   Scheideman Decl. ¶ 4 (App. 45).
 15.   Scheideman Decl. ¶ 5 (App. 45).
 16.   Scheideman Decl. ¶ 6 (App. 45).
 17.   Scheideman Decl. ¶ 7 (App. 45).
 18.   Scheideman Decl. ¶ 8 (App. 46).
 19.   Scheideman Decl. ¶¶ 9–12 (App. 46–48).
 20.   Scheideman Decl. ¶ 13 (App. 48).


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         D.     Plaintiff Kelley Orthodontics
       Kelley Orthodontics is a Christian professional association owned by plaintiff
 John Kelley.21 Kelley Orthodontics wishes to provide health insurance for its employ-

 ees that excludes coverage of contraception, PrEP drugs, and other preventive care
 that Dr. Kelley does not wish to cover.22 Dr. Kelley also wants the option of purchasing
 health insurance for his employees that limits coverage of preventive care or that im-
 poses copays or deductibles for preventive care, with corresponding adjustments in
 the monthly premiums, so that he can choose a policy that best suits the needs of his
 business.23 The defendants’ enforcement of the preventive-care mandates is limiting
 Dr. Kelley’s ability to obtain health insurance for his employees that excludes this
 unwanted coverage.24

         E.     Plaintiff Braidwood Management Inc.
       Braidwood Management Inc. is a Christian, for-profit corporation that employs
 approximately 70 individuals.25 It is owned by Dr. Steven F. Hotze.26 Because Braid-
 wood has more than 50 employees, it is compelled to offer ACA-compliant health
 insurance to its employees or face heavy financial penalties. See 26 U.S.C.
 § 4980H(c)(2).27
       Braidwood provides health insurance to its employees through a self-insured
 plan.28 Dr. Hotze wants Braidwood’s self-insured plan to exclude or limit coverage of
 preventive care that he does not want to provide.29 Dr. Hotze also wants Braidwood’s


 21.   Kelly Decl. ¶¶ 12, 16 (App. 36, 37).
 22.   Kelly Decl. ¶¶ 17–18 (App. 37).
 23.   Kelly Decl. ¶ 19 (App. 37).
 24.   Kelley Decl. ¶ 20 (App. 37).
 25.   Hotze Decl. ¶ 4–5 (App. 67).
 26.   Hotze Decl. ¶ 4 (App. 67).
 27.   Hotze Decl. ¶ 5 (App. 67).
 28.   Hotze Decl. ¶ 6 (App. 67).
 29.   Hotze Decl. ¶ 7 (App. 68).


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 self-insured plan to exclude coverage of preventive care that violates his sincere
 religious beliefs.30 And Dr. Hotze wants the option of imposing copays or deductibles

 for preventive care in Braidwood’s self-insured plan, so that he can establish an
 employee health-insurance plan that best suit the needs of his businesses.31 The
 defendants’ enforcement of the preventive-care mandates is preventing Braidwood
 from excluding unwanted coverage in its self-insured plan.32 It is also preventing
 Braidwood from imposing cost-sharing arrangements (such as co-pays or deductibles)
 on any of the preventive-care coverage compelled by the defendants.33

                                     ARGUMENT
       The plaintiffs are entitled to judgment as a matter of law on the undisputed facts
 of this case.

 I.      The Plaintiffs Have Standing                       To     Challenge         The
         Preventive-Care Mandates
       Each of the plaintiffs wishes to purchase, obtain, or provide health insurance that
 excludes or limits coverage of preventive care that the defendants are currently forcing
 insurers to cover without cost sharing.34 And each of the plaintiffs wants the health-
 insurance market to offer a range of available options with respect to coverage of
 preventive care, so that they may choose a policy that best suits their needs and the
 needs of their family or business.35 The preventive-care mandates, however, limit the
 range of health-insurance policies that insurers may legally offer, and make it impos-
 sible for the plaintiffs to purchase, obtain, or provide health insurance that excludes




 30.    Hotze Decl. ¶¶ 8, 14–18 (App. 68, 70).
 31.    Hotze Decl. ¶ 9 (App. 68).
 32.    Hotze Decl. ¶ 19 (App. 71).
 33.    Hotze Decl. ¶ 19 (App. 71).
 34.    See notes 3, 9, 16–17, 22, 29–30 and accompanying text.
 35.    See notes 4, 10, 18, 23, 31 and accompanying text.


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 or limits coverage of unwanted or unneeded preventive care.36 The mandates also
 prevent insurers from competing with each other by offering policies that shift the

 costs of preventive care to beneficiaries in exchange for lower premiums.37 This indis-
 putably inflicts injury in fact by reducing and limiting the types of health-insurance
 policies available on the market. See Center for Auto Safety v. National Highway Traf-
 fic Safety Administration, 793 F.2d 1322, 1332–34 (D.C. Cir. 1986) (holding that a
 reduced opportunity to purchase fuel-efficient vehicles established injury in fact); id.
 at 1332 (“NHTSA’s low CAFE standards will diminish the types of fuel-efficient ve-
 hicles and options available. Without the threat of civil penalties, manufacturers will
 not be prodded to install as many fuel-saving devices, nor to install them as promptly.
 As a result, petitioners’ members will have less opportunity to purchase fuel-efficient
 light trucks than would otherwise be available to them.”); Orangeburg, South Caro-
 lina v. FERC, 862 F.3d 1071, 1078 (D.C. Cir. 2017) (“The lost opportunity to pur-
 chase a desired product is a cognizable injury, even though Orangeburg can purchase,
 and has purchased, wholesale power from another source. . . . [E]ven though Orange-
 burg can and does purchase wholesale power from another source, the city cannot
 purchase wholesale power from the provider of its choice nor on its preferred terms”).
     These injuries are “fairly traceable” to the defendants’ continued enforcement of
 the preventive-care mandates. See Lexmark Int’l, Inc. v. Static Control Components,
 Inc., 572 U.S. 118, 134 n.6 (2014) (“Proximate causation is not a requirement of
 Article III standing, which requires only that the plaintiff’s injury be fairly traceable

 to the defendant’s conduct.”). Before the Affordable Care Act, private insurers offered
 policies that excluded or limited coverage of preventive care, or that charged copays




 36. See notes 7, 13, 20, 24, 32 and accompanying text.
 37. See notes 4, 10, 18, 23, 31, 33 and accompanying text.


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 or required deductibles for preventive care in exchange for lower premiums.38 Indeed,
 the entire reason for the preventive-care mandates was that private insurers were not

 providing cost-free coverage of preventive care on their own initiative or in response
 to market forces; that is why the defendants are compelling insurers to provide this
 coverage regardless of whether a beneficiary wants or needs it. The present-day ab-
 sence of private health insurance that excludes or limits coverage of preventive care is
 a direct result of the preventive-care mandates and the defendants’ continued enforce-
 ment of them.
     Finally, the plaintiffs’ injuries are “likely to be redressed” by relief that enjoins the
 defendants from enforcing the preventing-care mandates. See Lujan v. Defenders of
 Wildlife, 504 U.S. 555, 561 (1992) (a plaintiff needs only to show that it is “likely”
 that his injury will be redressed by the requested relief); Larson v. Valente, 456 U.S.
 228, 244, n.15 (1982) (“[A] plaintiff satisfies the redressability requirement when he
 shows that a favorable decision will relieve a discrete injury to himself. He need not
 show that a favorable decision will relieve his every injury”); see also Inclusive Commu-
 nities Project, Inc. v. Dep’t of Treasury, 946 F.3d 649, 655 (5th Cir. 2019) (“The relief
 sought needn’t completely cure the injury, however; it’s enough if the desired relief
 would lessen it.”). The unwillingness of health insurers to cover ACA-mandated pre-
 ventive care at zero marginal cost before the ACA’s enactment is all that is needed to
 show that it is “likely” that relief will cause insurers to once again offer policies of that
 sort. And any doubt on this score is dispelled by the market for “short-term, limited




 38. Cannon Decl. ¶ 4 (App. 73–74); see also Interim Final Rules for Group Health
     Plans and Health Insurance Issuers Relating to Coverage of Preventive Services
     Under the Patient Protection and Affordable Care Act, 75 Fed. Reg. 41726,
     41732–33 (July 19, 2010) (App. 85–86).


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 duration insurance,” which Congress has exempted from the ACA, and in which in-
 surers offer policies that exclude or limit coverage of preventive care that would oth-

 erwise be mandated by the ACA.39

 II.     42 U.S.C. § 300gg-13(a)(1)–(4) Violate The Appointments
         Clause
       The Appointments Clause provides:

         [The President] shall have Power, by and with the Advice and Consent
         of the Senate, to . . . appoint Ambassadors, other public Ministers and
         Consuls, Judges of the supreme Court, and all other Officers of the
         United States, whose Appointments are not herein otherwise provided
         for, and which shall be established by Law: but the Congress may by
         Law vest the Appointment of such inferior Officers, as they think
         proper, in the President alone, in the Courts of Law, or in the Heads of
         Departments.
 U.S. Const. art. II § 2. Yet 42 U.S.C. § 300gg-13(a)(1)–(4) allow the members of the
 U.S. Preventive Services Task Force, the Advisory Committee on Immunization Prac-
 tices, and the Health Resources and Services Administration to unilaterally determine

 the preventive care that private insurers must cover. These individuals are “officers of
 the United States,” because they “occupy a continuing position established by law”
 and exercise “significant authority pursuant to the laws of the United States.” Lucia
 v. SEC, 138 S. Ct. 2044, 2051 (2018). Yet none of these officers have been appointed

 in conformity with the Appointments Clause.

         A.      The Members Of The U.S. Preventive Services Task Force, The
                 Advisory Committee On Immunization Practices, And The Health
                 Resources And Services Administration Are “Officers Of The
                 United States”
       An individual qualifies as a “officer of the United States” if they: (1) “occupy a
 continuing position established by law”; and (2) “exercise significant authority pur-
 suant to the laws of the United States.” Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018);



 39. Cannon Decl. ¶¶ 5–7 (App. 74–75); see also App. 176.


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 see also Buckley v. Valeo, 424 U.S. 1, 126 (1976) (“[A]ny appointee exercising signifi-
 cant authority pursuant to the laws of the United States is an ‘Officer of the United

 States,’ and must, therefore, be appointed in the manner prescribed by s 2, cl. 2, of
 that Article.”); Jennifer L. Mascott, Who Are “Officers of the United States”?, 70 Stan.
 L. Rev. 443 (2018). The members of the U.S. Preventive Services Task Force (PSTF),
 the Advisory Committee on Immunization Practices (ACIP), and the Health Re-
 sources and Services Commission (HRSA) easily qualify as “officers of the United
 States” under the two-part Lucia test.
     First, each of these members occupies “a continuing position established by law.”
 The Preventive Services Task Force was established by an Act of Congress in 1984.
 The Advisory Committee on Immunization Practices was established pursuant to 42
 U.S.C. § 217a, which authorizes the Secretary of Health and Human Services to es-
 tablish “advisory councils or committees.” And the Health Resources and Services
 Administration is an agency of the U.S. Department of Health and Human Services,
 which was established in 1982 by an HHS reorganization order that consolidated the
 Health Resources Administration and the Health Services Administration. See Na-
 tional Archives, Records of the Health Resources and Services Administration,
 § 512.1 (August 15, 2016), available at https://bit.ly/3HA8mIO. Each of these en-
 tities has therefore been “established by law.” And each of these entities has remained
 in continuous existence since they were first established in 1984 (PSTF), 1964
 (ACIP), and 1982 (HRSA). The members of PSTF, ACIP, and HRSA therefore oc-

 cupy “continuing positions” that are also “established by law.” Lucia, 138 S. Ct. at
 2051; see also Officers of the United States Within the Meaning of the Appointments
 Clause, 31 Op. Off. Legal Counsel 73, 111 (Apr. 16, 2007) (“[A]n office exists where
 a position that possesses delegated sovereign authority is permanent, meaning that it




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 is not limited by time or by being of such a nature that it will terminate ‘by the very
 fact of performance.’ ”).40

     Second, the members of PSTF, ACIP, and HRSA exercise “significant authority
 pursuant to the laws of the United States.” Lucia, 138 S. Ct. at 2051. It is hard to
 conceive of “authority” more “significant” than the power to unilaterally dictate the
 scope of preventive care that private insurers must cover, without any cost-sharing
 arrangements such as deductible or copays. And the members of PSTF, ACIP, and
 HRSA wield these powers “pursuant to the laws of the United States,” as 42 U.S.C.
 § 300gg-13(a)(1)–(4) explicitly confer this authority upon them.




 40. This is what distinguishes PSTF and ACIP from private institutions or state or
     foreign governments whose decisions are sometimes incorporated by reference
     into federal statutes. The government correctly notes that federal laws incorpo-
     rate by reference recommendations of the American National Standards Institute
     (ANSI), and some federal criminal offenses are defined by reference to state or
     foreign law. See Mot. to Dismiss, ECF No. 20 at 25 (citing 4 U.S.C. § 119(a)(2),
     16 U.S.C. § 3372(a)(2)(A), 18 U.S.C. § 13(a), 42 U.S.C. § 6293(b)(8)). But
     none of this violates the Appointments Clause, because the members of ANSI
     and the state and foreign government officials do not occupy “a continuing po-
     sition established by [federal] law.” Lucia, 138 S. Ct. at 2051. ANSI is a private,
     non-profit entity that was not created or established by a federal statute. And
     members of state and foreign governments are obviously not occupying “a con-
     tinuing position established by [federal] law.” Lucia, 138 S. Ct. at 2051. One
     cannot be an “officer of the United States” unless there is a federal office to
     occupy — and the first part of the Lucia test ensures that there is a federal “of-
     fice” that is held by the alleged “officer.” See Officers of the United States Within
     the Meaning of the Appointments Clause, 31 Op. Off. Legal Counsel 73, 73–74
     (Apr. 16, 2007) (“We conclude that any position having the two essential char-
     acteristics of a federal “office” is subject to the Appointments Clause. That is, a
     position, however labeled, is in fact a federal office if (1) it is invested by legal
     authority with a portion of the sovereign powers of the federal government, and
     (2) it is “continuing.” A person who would hold such a position must be properly
     made an “Officer[] of the United States” by being appointed pursuant to the
     procedures specified in the Appointments Clause.”). There is no doubt, however,
     that the members of PSTF and ACIP occupy federal offices, because each of
     these entities was created and established by federal law.


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     The defendants resist each of these conclusions, but none of their arguments have
 merit.

               1.      An “Officer Of The United States” Is Not Required To Be
                       A Paid Employee Of The Federal Government
     The defendants deny that the members of the Preventive Services Task Force and
 the Advisory Committee on Immunization Practices qualify as “officers of the United
 States” because (according to the defendants) these individuals lack “a continuing and
 formalized relationship of employment with the United States government.” Mot. to
 Dismiss, ECF No. 20 at 23 (quoting Riley v. St. Luke’s Episcopal Hospital, 252 F.3d
 749, 757 (5th Cir. 2001)). Both the major premise and the minor premise of this
 argument are wrong.
     The Supreme Court has never held that an “officer of the United States” must
 hold a “formalized relationship of employment” with the federal government, and
 the Office of Legal Counsel has explicitly rejected this view in an opinion that binds
 the Department of Justice. See Officers of the United States Within the Meaning of the
 Appointments Clause, 31 Op. Off. Legal Counsel 73, 78 (Apr. 16, 2007) (“[F]ederal
 employment is not necessary for the Appointments Clause to apply.”); id. at 121 (spe-
 cifically rejecting the notion that “the Appointments Clause does not apply to persons
 who are not employees of the federal government, even if they are delegated perma-
 nent federal authority to enforce federal law.”).
     More importantly, the Supreme Court has established a two-part test for deter-
 mining whether someone qualifies as an officer of the United States, and that is the
 standard that lower courts and litigants must apply when considering Appointments
 Clause claims. See Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018) (holding that one
 qualifies as an “officer of the United States” if they (1) “occupy a continuing position
 established by law”; and (2) “exercise significant authority pursuant to the laws of the




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 United States.”). Nowhere does this test purport to require an employer–employee
 relationship between an officer and the federal government.

     The defendants, however, rely heavily on Riley v. St. Luke’s Episcopal Hospital,
 252 F.3d 749 (5th Cir. 2001), which asserts that “the constitutional definition of an
 ‘officer’ encompasses, at a minimum, a continuing and formalized relationship of em-
 ployment with the United States Government.” Id. at 757. Riley’s insistence on a
 formalized employment relationship finds no support in the rulings of the Supreme
 Court, which ask only whether the individual “occupies a continuing position estab-
 lished by law” and “exercises significant authority pursuant to the laws of the United
 States.” Lucia, 138 S. Ct. at 2051. It also contradicts the opinions of the Office of
 Legal Counsel, which specifically hold that “federal employment is not necessary for
 the Appointments Clause to apply.” Officers of the United States Within the Meaning
 of the Appointments Clause, 31 Op. Off. Legal Counsel 73, 78 (Apr. 16, 2007). But
 Riley remains a precedent of the Fifth Circuit, so these statements in Riley cannot be
 dismissed as simply wrong. Instead, they should be interpreted in a manner that mit-
 igates any inconsistency with the views expressed by Supreme Court and the Office
 of Legal Counsel.
     The Court should hold that an individual has a “formalized relationship of em-
 ployment with the United States government” under Riley whenever he “occupies a
 continuing position established by law” — regardless of whether he receives payment
 or emoluments for his work. This is a permissible (though not mandatory) interpre-

 tation of Riley, and this approach would eliminate any inconsistency between Riley
 and Lucia (and between Riley and the opinions of OLC). The words “employ” and
 “employment” can be used to describe work that does not involve payment,41 and the


 41. See, e.g., “employ.” Merriam-Webster.com. 2020. https://www.merriam-web-
     ster.com/dictionary/employ (November 15, 2021) (defining “stepfather” as
     “1a: to make use of (someone or something inactive) employ a pen for sketching;


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 notion that paid employment is required to make one an “officer of the United
 States” is flatly contradicted by original meaning and historical practice. As the Office

 of Legal Counsel explains:

        [A]ny understanding of an ‘office’ that would require an ‘emolument’
        akin to the compensation that a person on the regular payroll of the
        federal government receives would conflict with the original meaning
        of the Appointments Clause as revealed by earliest practice. In the first
        decade under the Constitution, most federal officers, particularly those
        outside the capital, received no compensation from the government,
        much less a regular one. Instead, they received authority to collect fees
        . . .”
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.
 Off. Legal Counsel 73, 120 (Apr. 16, 2007).42 And there is no need to construe the
 word “employment” in Riley (or in other cases) as requiring payment from the federal
 government:

        [T]he general language of these cases allows for an office that does not
        involve government employment in the modern sense. Maurice, for ex-
        ample, said that an office is “a public charge or employment,” 26 F. Cas.

     b: to use (something, such as time) advantageously a job that employed her skills;
     c(1): to use or engage the services of; (2): to provide with a job that pays wages
     or a salary; 2: to devote to or direct toward a particular activity or person em-
     ployed all her energies to help the poor.”); see also Officers of the United States
     Within the Meaning of the Appointments Clause, 31 Op. Off. Legal Counsel 73,
     121 (Apr. 16, 2007).
 42. See also Officers of the United States Within the Meaning of the Appointments
     Clause, 31 Op. Off. Legal Counsel 73, 119 (Apr. 16, 2007) (“[A]n emolument
     is also a common characteristic of an office, as Hartwell indicates, 73 U.S. at
     393, but it too is not essential: ‘Like the requirement of an oath,’ provision for
     pay ‘may aid in determining the nature of the position, but it is not conclu-
     sive. . . . As in the case of the oath, the salary or fees are mere incidents and form
     no part of the office.’ Mechem § 7, at 6; see id. at 6 n.3 (‘it is not a sine qua
     non’); Kennon, 7 Ohio St. at 559 (‘That compensation or emolument is a usual
     incident to office, is well known; but that it is a necessary element in the consti-
     tution of an office, is not true.”); id. at 120 (“If Presidents were to serve without
     pay, as Benjamin Franklin had proposed, see James Madison, Notes of Debates
     in the Federal Convention of 1787, at 51–55 (June 2, 1787) (1987), they would
     no less hold an office.”).


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        at 1214 (internal quotation marks omitted; emphasis added), and
        Hartwell defined an office as “a public station, or employment,” 73 U.S.
        at 393 (emphasis added). Maurice, among others, also does state that
        an “office is ‘an employment,’” 26 F. Cas. at 1214, but such a statement
        must be read in a contemporaneous rather than anachronistic sense,
        broadly to include anyone engaged by the government, whether an in-
        dependent contractor, “employee,” or other agent. The pertinent defi-
        nition of “employ” is:
               To engage in one’s service; to use as an agent or substi-
               tute in transacting business; to commission and entrust
               with the management of one’s affairs. The president em-
               ployed an envoy to negotiate a treaty. Kings and States
               employ ambassadors at foreign courts.
        Noah Webster, An American Dictionary of the English Language, tit.
        Employ (1828). Thus, even an “agreement” to provide services (such
        as “to make hay” or “plough land”) was an “employment.”
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.
 Off. Legal Counsel 73, 121 (Apr. 16, 2007). It is hard to understand how the De-
 partment of Justice can take a position in this Court that so flatly contradicts the
 pronouncements of the Office of Legal Counsel, and it is even harder to understand
 why it would not seek an interpretation of Riley that is consonant with OLC’s views.

               2.     The Members Of PSTF, ACIP, And HRSA Exercise
                      “Significant Authority Pursuant To The Laws Of The
                      United States”
     The defendants also deny that the members of the PSTF, ACIP and HRSA exer-
 cise “significant authority pursuant to the laws of the United States.” See Reply Br. in
 Support of Mot. to Dismiss, ECF No. 32 at 10. Instead, they attempt to characterize
 these individuals as technocrats rather than policymakers:

        [T]hese bodies do not “exercise significant authority pursuant to the
        laws of the United States.” In pressing the contrary conclusion, Plain-
        tiffs fundamentally misunderstand the role of the expert bodies who
        provide the preventive care guidelines and recommendations that, pur-
        suant to ACA, must be covered by insurance. In 42 U.S.C. § 300gg-
        13(a), Congress made the determination that standard contemporary
        preventive care practices should be covered by insurance without cost
        sharing. The authority of the expert bodies referenced in the statute is


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        limited, and this limited nature of their authority is not changed by the
        statute’s incorporation of their work by reference. Specifically, their lim-
        ited role is to set forth what contemporary preventive care practices are
        the prevailing medical standard at a given time. In other words, these
        expert bodies are not “unilaterally dictat[ing] the scope of preventive
        care that all private insurers must cover,” because Congress has already
        made that determination. The expert bodies simply have the task of
        setting forth, in a world where medical science is evolving daily, what
        practices qualify in the medical field as the current standard of care.
 Id. But none of these observations alter the fact that the members of the PSTF, ACIP
 and HRSA have been given sweeping powers to determine the scope of preventive-
 care coverage in private health insurance — including the prerogative to resolve highly
 explosive questions such as contraceptive coverage and the scope of any religious ex-
 emptions (or other exemptions) that might be conferred. See Little Sisters of the Poor
 Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2380 (2020) (holding

 that 42 U.S.C. § 300gg-13(a)(4) gives HRSA not only the authority to determine the
 “preventive care and screenings” that must be covered but also “the ability to identify
 and create exemptions from its own Guidelines.”). Indeed, Little Sisters removes any
 doubt on this score, as it recognizes that 42 U.S.C. § 300gg-13(a)(4) “grants sweep-
 ing authority to HRSA to craft a set of standards defining the preventive care that
 applicable health plans must cover,” and that “HRSA has virtually unbridled discre-
 tion to decide what counts as preventive care and screenings.” Id. at 2380. PSTF and
 ACIP enjoy similar powers under 42 U.S.C. § 300gg-13(a)(1)–(2), including the

 power to recognize and confer exemptions to their preventive-care mandates, reli-
 gious or otherwise. This assuredly qualifies as “significant authority pursuant to the
 laws of the United States.”

        B.     The Members Of PSTF, ACIP, And HRSA Are Principal Officers
               Who Must Be Appointed By The President With The Senate’s
               Advice And Consent
     Not only are the members of the U.S. Preventive Services Task Force, the Advi-
 sory Committee on Immunization Practices, and the Health Resources and Services



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 Administration “officers of the United States,” they are principal officers who must
 be appointed by the President with the advice and consent of the Senate.

     The distinction between a “principal” officer and an “inferior” officer turns on
 whether the officer’s work is “directed and supervised” by others who have been ap-
 pointed by the President with the Senate’s advice and consent. See Edmond v. United
 States, 520 U.S. 651, 662–63 (1997) (“‘[I]nferior officers’ are officers whose work is
 directed and supervised at some level by others who were appointed by Presidential
 nomination with the advice and consent of the Senate.”); United States v. Arthrex,
 Inc., 141 S. Ct. 1970, 1980 (2021) (same). That direction and supervision is absent
 here. 42 U.S.C. § 300gg-13(a)(1)–(4) empower PSTF, ACIP, and HRSA — and these
 entities alone — to determine the preventive care that insurers must cover without
 cost-sharing arrangements. Neither the Secretary of Health and Human Services, nor
 any other officer of the United States, has authority to review or countermand any of
 the preventive-care edicts issued by PSTF, ACIP, or HRSA. See Little Sisters of the Poor
 Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2381 (2020) (“By its
 terms, the ACA leaves the Guidelines’ content to the exclusive discretion of HRSA.”
 (emphasis added)). And the absence of any “statutory authority” to review their de-
 cisions makes their members principal rather than inferior officers. See Arthrex, 141
 S. Ct. at 1981 (holding that formal “statutory authority to review” decisions is needed
 to make one an inferior officer); id. at 1983 (“[A]dequate supervision entails review
 of decisions issued by inferior officers.”).

        C.      The Members Of PSTF, ACIP, And HRSA Have Been
                Unconstitutionally Appointed, Regardless Of Whether They Are
                “Principal” Or “Inferior” Officers
     If the members of the U.S. Preventive Services Task Force, the Advisory Com-
 mittee on Immunization Practices, and the Health Resources and Services Admin-
 istration, are principal officers, then their appointments are unconstitutional because




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 they have not been appointed by the President with the advice and consent of the
 Senate. But even if they could somehow be passed off as “inferior officers,” their ap-

 pointments remain unconstitutional because there does not appear to be any Act of
 Congress that “vests” their appointment in the President alone, in the Courts of Law,
 or in the Heads of Departments — which is needed to escape the constitutional default
 rule of presidential nomination and Senate confirmation. See U.S. Const. art. II § 2
 (“Congress may by Law vest the Appointment of such inferior Officers, as they think
 proper, in the President alone, in the Courts of Law, or in the Heads of Depart-
 ments.”).
     The statute that establishes the U.S. Preventive Services Task Force, for example,
 says that “[t]he Director [of the Agency for Healthcare Research and Quality] shall
 convene an independent Preventive Services Task Force . . . to be composed of indi-
 viduals with appropriate expertise.” 42 U.S.C.A. § 299b-4(a)(1) (emphasis added).
 But this says nothing about how the members of the Task Force are to be appointed,
 and it does not purport to “vest” the appointment of these members in the Director.
 And in all events, the Director of the Agency for Healthcare Research and Quality
 would not qualify as a “Head of Department” within the meaning of the Appoint-
 ments Clause. See Freytag v. Commissioner of Internal Revenue, 501 U.S. 868, 886
 (1991); United States v. Germaine, 99 U.S. 508, 511 (1878).
     The plaintiffs have also been unable to locate any Act of Congress that “vests”
 the appointment of the members of the Advisory Committee on Immunization Prac-

 tices or the Health Resources and Services Administration in the President alone, the
 Courts of Law, or the Heads of Department. 42 U.S.C. § 217a, for example, author-
 izes the Secretary of Health and Human Services to “appoint such advisory councils
 or committees . . . for such periods of time, as he deems desirable with such period
 commencing on a date specified by the Secretary for the purpose of advising him in
 connection with any of his functions.” 42 U.S.C. § 217a (emphasis added). But this


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 statute cannot be used to appoint the members of the Advisory Committee on Im-
 munization Practices or the Health Resources and Services Administration now that

 42 U.S.C. § 300gg-13(2)–(4) gives binding force to their pronouncements. The
 members these entities are not “advising” the Secretary on these statutory matters,
 and they are no longer being appointed “for the purpose of advising” the Secretary.
 Instead, they are deciding the preventive care that private insurance must cover.
     If the U.S. Preventive Services Task Force, the Advisory Committee on Immun-
 ization Practices, and the Health Resources and Services Administration were per-
 forming purely advisory functions, then their members would not be considered “of-
 ficers of the United States” and need not be appointed in accordance with the Ap-
 pointments Clause. See Walter Dellinger, Constitutional Limitations on Federal Gov-
 ernment Participation in Binding Arbitration, 19 U.S. Op. Off. Legal Counsel 208
 (1995) (“[T]he members of a commission that has purely advisory functions need
 not be officers of the United States because they possess no enforcement authority or
 power to bind the Government.” (citation and internal quotation marks omitted)).
 But the members of the U.S. Preventive Services Task Force, the Advisory Committee
 on Immunization Practices, and the Health Resources and Services Administration
 are no longer acting in a “purely advisory” role now that 42 U.S.C. § 300gg-13(a)
 has empowered them to unilaterally determine the preventive care that health insur-
 ance must cover without any cost-sharing arrangements. The members of these agen-
 cies are undoubtedly “officers of the United States,” and they must be appointed con-

 sistent with the requirements of Article II, § 2.

        D.     The Defendants’ Suggestion That Any Appointments Clause
               Problems Have Been “Cured” By Subsequent “Ratification” Of
               The ACIP and HRSA Preventive-Care Mandates Is Without Merit
     The defendants contend that any constitutional problems with the appointment
 of the ACIP and HRSA members have been “cured” because their decisions have




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 been “ratified” by the Secretary of Health and Human Services or the Director of the
 Center for Disease Control and Prevention. See Mot. to Dismiss, ECF No. 20 at 19–

 22. The defendants’ ratification argument is untenable.
     First, the statute does not allow the Secretary of Health and Human Services (or
 anyone else) to countermand HRSA’s guidelines, and the Secretary is given no dis-
 cretion to accept or reject the guidelines that HRSA produces. When HRSA an-
 nounces the “preventive care and screenings” that private insurers must cover, the
 Secretary is legally obligated to issue rules and enforce preventive-care mandates in
 accordance with HRSA’s guidelines. Yet the government is trying to pass off the Sec-
 retary’s compulsory implementation of HRSA’s decisions as a voluntary act of “ratifi-
 cation” — even though the text of section 300gg-13(a)(4) makes clear that HRSA
 holds the whip hand. See Little Sisters of the Poor Saints Peter & Paul Home v. Penn-
 sylvania, 140 S. Ct. 2367, 2380 (2020) (“On its face, then, [section 300gg-13(a)(4)]
 grants sweeping authority to HRSA to craft a set of standards defining the preventive
 care that applicable health plans must cover.”); id. (“HRSA has virtually unbridled
 discretion to decide what counts as preventive care and screenings.”); id. at 2381 (“By
 its terms, the ACA leaves the Guidelines’ content to the exclusive discretion of HRSA.”
 (emphasis added)).
     The statute likewise prohibits the Director of the CDC from overruling the rec-
 ommendations of ACIP. It requires all insurers to cover “immunizations that have in
 effect a recommendation from the Advisory Committee on Immunization Practices

 of the Centers for Disease Control and Prevention with respect to the individual in-
 volved.” 42 U.S.C. § 300gg-13(a)(2). The committee’s recommendations are final
 under the text of the statute, and the government cites no example where the CDC
 Director has overruled an ACIP recommendation since the enactment of the Afford-
 able Care Act.




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     Second, even if the HHS Secretary or the CDC Director had the authority to
 veto or “ratify” HRSA’s guidelines or ACIP’s recommendations, section 300gg-13(a)

 would still violate the Appointments Clause because it empowers HRSA or ACIP to
 dictate the preventive care that private insurers must cover until an “officer of the
 United States” acts to approve or revoke their decisions. That constitutes “significant
 authority pursuant to the laws of the United States,” even if it remains subject to
 reversal by an “officer of the United States,” because the power to establish the default
 rule on matters of compulsory health-insurance coverage amounts to “significant au-
 thority” in and of itself. See Lucia, 138 S. Ct. at 2049 (holding that the SEC’s admin-
 istrative law judges qualify as “officers of the United States,” even though their deci-
 sions are subject to review by the Commission itself).
                                          ***
     The members of PSTF, ACIP, and HRSA are “officers of the United States” who
 have not been appointed in conformity with the Appointments Clause. The Court
 should declare that any and all preventive-care mandates based on a rating, recom-
 mendation, or guideline issued by the U.S. Preventive Services Task Force, the Advi-
 sory Committee on Immunization Practices, or the Health Resources and Services
 Administration after March 23, 2010 — the date on which the Affordable Care Act
 was signed into law — are unconstitutional and unenforceable, and it should enjoin
 the defendants from enforcing them.

 III.   42 U.S.C. § 300gg-13(a)(1)–(4) Violate The Nondelegation
        Doctrine
     Statutes that delegate authority to agencies must supply an “intelligible principle”
 to guide the agency’s discretion. See Whitman v. American Trucking Associations, 531
 U.S. 457, 472 (2001). Yet there is nothing in the text of section 300gg-13(a) that
 purports to guide the discretion of PSTF, ACIP, or HRSA when choosing the pre-
 ventive care that private insurance must cover. The statute does not even require these



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 agencies to make these decisions based on the “public interest” or the “public health,”
 and it does not provide any factors or considerations that might influence the agency’s

 decisionmaking. Even the statutes that fall along the outermost boundary of consti-
 tutionally permissible delegations have at least something to guide the agency; this
 statute has nothing at all.
     The government suggests that the statute provides an “intelligible principle” be-
 cause the PSTF has established its own criteria for determining which “items or ser-
 vices” receive an “A” or “B” grade. See Mot. to Dismiss, ECF No. 20 at 27. But
 Whitman explicitly rejects the idea that an agency can cure the absence of an intelli-
 gible principle in a statute by supplying the intelligible principle that Congress failed
 to provide:

        [W]hen Congress confers decisionmaking authority upon agencies
        Congress must “lay down by legislative act an intelligible principle to
        which the person or body authorized to [act] is directed to conform.”
        J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928).
        We have never suggested that an agency can cure an unlawful delega-
        tion of legislative power by adopting in its discretion a limiting con-
        struction of the statute. . . . The idea that an agency can cure an uncon-
        stitutionally standardless delegation of power by declining to exercise
        some of that power seems to us internally contradictory. The very
        choice of which portion of the power to exercise — that is to say, the
        prescription of the standard that Congress had omitted — would itself
        be an exercise of the forbidden legislative authority. Whether the statute
        delegates legislative power is a question for the courts, and an agency’s
        voluntary self-denial has no bearing upon the answer.
 Whitman, 531 U.S. at 472 (emphasis added). The “intelligible principle” must appear
 in the statute itself, not in any agency-created guidelines.
     The government also suggests that the statute provides an “intelligible principle”
 by allowing PSTF to compel coverage only of “evidence-based items and services,”43




 43. 42 U.S.C. § 300gg-13(a)(1).


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 by allowing ACIP to compel coverage only of “immunizations,”44 and allowing HRSA
 to compel coverage only of “preventive care and screenings,”45 and then only of pre-

 ventive care and screenings for “infants, children, and adolescents,”46 or “for
 women.”47 See Mot. to Dismiss, ECF No. 20 at 27. This argument confuses a statu-
 tory boundary on an agency’s authority with the “intelligible principle” needed to
 guide the agency’s discretion within those boundaries. Limiting the scope of HRSA’s
 powers to “preventive care and screenings,” for example, does nothing to provide
 guidance when HRSA is deciding which “preventive care” and which “screenings” will
 be covered. That is where the absence of an intelligible principle is felt, and the gov-
 ernment cannot point to anything in the statute that alleviates this problem.
       Finally, the Supreme Court’s recent opinion in Little Sisters indicates that the jus-
 tices have at least some discomfort with the delegation in section 300gg-13(a)(4).
 Consider this passage, which seems to go out of its way to call out the statute as a
 unique (and uniquely troublesome) delegation:

         On its face, then, [section 300gg-13(a)(4)] grants sweeping authority
         to HRSA to craft a set of standards defining the preventive care that
         applicable health plans must cover. But the statute is completely silent
         as to what those “comprehensive guidelines” must contain, or how
         HRSA must go about creating them. The statute does not, as Congress
         has done in other statutes, provide an exhaustive or illustrative list of
         the preventive care and screenings that must be included. See, e.g., 18
         U.S.C. § 1961(1); 28 U.S.C. § 1603(a). It does not, as Congress did
         elsewhere in the same section of the ACA, set forth any criteria or stand-
         ards to guide HRSA’s selections. See, e.g., 42 U.S.C. § 300gg–13(a)(3)
         (requiring “evidence-informed preventive care and screenings” (empha-
         sis added)); § 300gg–13(a)(1) (“evidence-based items or services”). It
         does not, as Congress has done in other contexts, require that HRSA



 44.    42 U.S.C. § 300gg-13(a)(2).
 45.    42 U.S.C. § 300gg-13(a)(3)–(4).
 46.    42 U.S.C. § 300gg-13(a)(3).
 47.    42 U.S.C. § 300gg-13(a)(4).


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         consult with or refrain from consulting with any party in the formula-
         tion of the Guidelines. See, e.g., 16 U.S.C. § 1536(a)(1); 23 U.S.C.
         § 138. This means that HRSA has virtually unbridled discretion to de-
         cide what counts as preventive care and screenings. But the same capa-
         cious grant of authority that empowers HRSA to make these determi-
         nations leaves its discretion equally unchecked in other areas, including
         the ability to identify and create exemptions from its own Guidelines.

         Congress could have limited HRSA’s discretion in any number of ways,
         but it chose not to do so. Instead, it enacted “‘expansive language of-
         fer[ing] no indication whatever’” that the statute limits what HRSA can
         designate as preventive care and screenings or who must provide that
         coverage.
 Little Sisters, 140 S. Ct. at 2380 (some citations omitted). Of course, the Supreme
 Court did not go so far as to say that section 300gg-13(a)(4) actually violates the
 nondelegation doctrine. But the Court did make clear that the doctrine continues to
 exist — and that they will continue policing the boundary between permissible and
 impermissible delegations of lawmaking power. See Gundy v. United States, 139 S. Ct.
 2116 (2019). If the provisions of section 300gg-13(a)(1)–(4) are held to pass muster
 under the “intelligible principle” standard, then one must wonder how any statute
 could possibly fail this court-imposed test.

 IV.     42 U.S.C. § 300gg-13(a)(1) Violates Article II’s Vesting
         Clause
       If the Court concludes that the U.S. Preventive Services Task Force is exercising
 executive power rather than legislative power when it unilaterally decrees the “items
 or services” that health insurance must cover, then 42 U.S.C. § 300gg-13(a)(1) vio-
 lates Article II’s vesting clause by conferring executive power on agency officials who
 are not subject to Presidential direction, removal, or control. See Seila Law LLC v.
 Consumer Financial Protection Bureau, 140 S. Ct. 2183, 2197 (2020) (“The entire
 ‘executive power’ belongs to the President alone. . . . These lesser officers must re-
 main accountable to the President, whose authority they wield.”).




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     The statute establishing the U.S. Preventive Services Task Force forbids any Pres-
 idential influence over the Task Force’s recommendations:

        All members of the Task Force convened under this subsection, and any
        recommendations made by such members, shall be independent and,
        to the extent practicable, not subject to political pressure.
 42 U.S.C. § 299b-4. Of course, there is nothing wrong with immunizing a purely
 advisory committee from presidential direction and control, and the U.S. Preventive

 Services Task Force served a purely advisory role before the enactment of the Afford-
 able Care Act in 2010. But the Task Force ceased to be an advisory committee upon
 the enactment of 42 U.S.C. § 300gg-13(a)(1), which empowered the Task Force to
 unilaterally decree the preventive care that health insurers must cover.
     The Constitution makes no provision for governance by politically unaccountable
 bureaucrats. The Task Force is either exercising legislative or executive power when it
 announces the preventive care that health insurance must cover without any cost-
 sharing arrangements. If these Task Force pronouncements qualify as legislative
 power, then 42 U.S.C. § 300gg-13(a)(1) violates Article I by conferring lawmaking
 powers on an agency. And if the Task Force pronouncements qualify as executive
 power, then 42 U.S.C. § 300gg-13(a)(1) violates Article II by conferring executive
 power on agency officials who are immune from the President’s direction, removal,
 and control. Either way, the statute is unconstitutional, and any preventive-care man-
 dates derived from a Task Force pronouncement that issued after March 23, 2010,
 should be declared unconstitutional and unenforceable.
     The government denies that 42 U.S.C. § 300gg-13(a)(1) violates Article II’s vest-
 ing clause by empowering the Preventive Services Task Force to dictate the “items or
 services” that private insurers must cover, while simultaneously insulating the mem-
 bers of the task force from Presidential direction or control. See 42 U.S.C. § 299b-4




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 (“All members of the Task Force convened under this subsection, and any recommen-
 dations made by such members, shall be independent and, to the extent practicable,

 not subject to political pressure.”). The government denies that the PSTF is exercising
 any type of “legislative” or “executive” power — or even “quasi-legislative power” —
 because (in the government’s view) the PSTF is indistinguishable from the American
 National Standards Institute (ANSI), or the state and foreign governments whose
 decision are incorporated by reference into federal statutes. See Mot. to Dismiss, ECF
 No. 20 at 25–26. The government’s argument is untenable.
     The Preventive Services Task Force is an entity of the federal government. It is
 funded by the Agency for Healthcare Research and Quality, which appoints its mem-
 bers and provides its support staff.48 And it was created and established by an Act of
 Congress in 1984. A government agency of this sort must comply with the constitu-
 tional rules established in Articles I and II; Congress cannot create independent enti-
 ties and then empower them to make legally binding decisions independent of Presi-
 dential control. See Seila Law LLC v. Consumer Financial Protection Bureau, 140 S.
 Ct. 2183 (2020). ANSI is a private, non-profit entity that is not part of the federal
 government and was not created by the federal government. State and foreign gov-
 ernments are not part of the federal government either, so they do not need to comply
 with constitutional separation-of-powers rules — even when they exercise authority
 pursuant to a federal statute. State judicial officers, for example, are not required to
 hold life tenure and salary protection, even when they decide cases arising under a

 federal statute, because they are entities of their state government and do not exercise
 “the judicial power of the United States.” See William Baude, Adjudication Outside
 Article III, 133 Harv. L. Rev. 1511 (2020). The Supreme Court has never allowed
 an entity that is part of the federal government to exempt itself from constitutional

 48. See https://www.ahrq.gov/cpi/about/otherwebsites/uspstf/index.html (last
     visited on November 15, 2021).


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 separation-of-powers rules, and the Court’s recent decision in Seila Law is an emphatic
 reminder that purely independent federal agencies of the type established in 42 U.S.C.

 § 300gg-13(a) have no place in our constitutional structure.

 V.     The Compulsory Coverage Of Prep Drugs, The HPV
        Vaccine, And The Screenings And Behavioral Counseling
        For Stds And Drug Use Violates The Religious Freedom
        Restoration Act
      Plaintiffs Kelley, Starnes, Zach and Ashley Maxwell, Kelley Orthodontics, and
 Braidwood each hold sincere religious objections to the compulsory coverage of PrEP
 drugs, the HPV vaccine, and the screenings and behavioral counseling for STDs and
 drug use.49 To prevail on their RFRA claim, these plaintiffs need only show that this
 compulsory coverage substantially burdens their exercise of religion. 42 U.S.C.
 § 2000bb-1(a). Then the burden shifts to the government to demonstrate that its
 imposition furthers a “compelling governmental interest” and is the “least restrictive
 means” of doing so. 42 U.S.C. § 2000bb-1(b)(1)–(2); see also Burwell v. Hobby Lobby
 Stores, Inc., 573 U.S. 682, 706 (2014) (“RFRA was designed to provide very broad
 protection for religious liberty.”).

        A.      The Compulsory Coverage Of PrEP Drugs Substantially Burdens
                The Plaintiffs’ Religious Freedom
      The compulsory coverage of PrEP drugs, the HPV vaccine, and the screenings
 and behavioral counseling for STDs and drug use requires employers with more than
 50 employees to choose one of the following two options: (1) Provide this coverage
 in their employees’ health insurance; or (2) Pay a heavy financial penalty. See 26 U.S.C.
 § 4980D (imposing a “tax” on employers who refuse to comply with the preventive-
 care mandate of $100 per employee per day of noncompliance). Braidwood, which
 has more than 50 employees, must therefore provide health-insurance coverage that
 violates Dr. Hotze’s sincere religious beliefs, or else pay the fines described in section


 49. See notes 6, 22, 30 and accompanying text.


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 4980D. The Supreme Court has already held that putting an employer to this choice
 imposes a “substantial burden” on religious freedom. See Hobby Lobby, 573 U.S. at

 691. Kelley Orthodontics has fewer than 50 employees, so it must choose between:
 (1) Providing health insurance to its employees that covers PrEP drugs, the HPV
 vaccine, and the screenings and behavioral counseling for STDs and drug use, in vio-
 lation of Dr. Kelley’s sincere religious beliefs; or (2) Refusing to offer any health in-
 surance to its employees. The Supreme Court has held that requiring an employer to
 drop employee health benefits to avoid complicity in conduct that violates its religious
 beliefs is likewise a “substantial burden” of the exercise of religion. See Hobby Lobby,
 573 U.S. at 722–23.
     The compulsory coverage of PrEP drugs, the HPV vaccine, and the screenings
 and behavioral counseling for STDs and drug use also substantially burdens the reli-
 gious freedom of individual consumers of health insurance, such as Dr. Kelley, Mr.
 Starnes, and Zach and Ashley Maxwell, because it compels them to choose between
 subsidizing lifestyles that violate their religious beliefs and foregoing health insurance
 entirely. See, e.g., March for Life v. Burwell, 128 F. Supp. 3d 116, 129–30 (D.D.C.
 2015) (Contraceptive Mandate violates the Religious Freedom Restoration Act as ap-
 plied to individuals who “hold religious beliefs against participating in a health insur-
 ance plan that covers contraceptives.”); DeOtte v. Azar, 393 F. Supp. 3d 490, 509
 (N.D. Tex. 2019) (Contraceptive Mandate substantially burdens the religious free-
 dom of individual consumers of health insurance who wish to avoid complicity in

 contraception, because these individuals “are forced out of either the health-insurance
 market or their religious exercise.”). Under the current regime, every individual who
 purchases health insurance will pay premiums that subsidize the provision of PrEP
 drugs, the HPV vaccine, and the screenings and behavioral counseling for STDs and
 drug use. The only way to avoid this subsidy is to forego health insurance, or to obtain
 insurance through a church employer or a grandfathered health plan exempt from the


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 Contraceptive Mandate. It is a “substantial burden” to close off the entire health-
 insurance market to individuals who are unwilling, for religious reasons, to purchase

 insurance that is used to subsidize other people’s PrEP drugs, the HPV vaccine, and
 the screenings and behavioral counseling for STDs and drug use. This compulsory
 coverage is no different in this regard from a law that requires all private health insur-
 ance to cover abortions without any deductibles or co-pays. In each of these worlds,
 religious objectors are unable to purchase health insurance unless they pay for prac-
 tices that are anathema to their religious beliefs.
     Each of the plaintiffs is asserting complicity-based objections to the coverage of
 PrEP drugs, the HPV vaccine, and the screenings and behavioral counseling for STDs
 and drug use, because they do not wish to subsidize or provide insurance that encour-
 ages and facilitates homosexual behavior, drug use, or sexual activity outside of mar-
 riage between one man and one woman.50 That unquestionably qualifies as a “sub-
 stantial burden” on the exercise of their religion, and the Supreme Court has repeat-
 edly held that courts must accept a religious objector’s complicity-based objections to
 unwanted health-insurance coverage — no matter how attenuated the complicity may
 seem to an opposing party or a federal judge. The Court’s only task is to determine
 whether a complicity-based objection is sincere; it may not dismiss a religious objec-
 tor’s sincere complicity objections as unreasonable or “too attenuated.” See Burwell v.
 Hobby Lobby Stores, Inc., 573 U.S. 682, 725 (2014); Little Sisters of the Poor Saints
 Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2383 (2020). And each of these

 plaintiffs has clearly established a complicity-based objection to the compulsory cov-
 erage of PrEP drugs, the HPV vaccine, and the screenings and behavioral counseling
 for STDs and drug use that is rooted in their sincere religious beliefs (or in the case




 50. See notes 6, 22, 30 and accompanying text.


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 of Braidwood and Kelley Orthodontics, in the sincere religious beliefs of their own-
 ers).51

                                           ***
      Having shown a “substantial burden” on the plaintiffs’ religious liberty, the bur-
 den now shifts to the government to demonstrate that the compulsory coverage of
 PrEP drugs, the HPV vaccine, and screenings and behavioral counseling for STDs
 and drug use advances a “compelling governmental interest” and is “the least restric-
 tive means of furthering that compelling governmental interest.” 42 U.S.C.
 § 2000bb-1(b). This is “the most demanding test known to constitutional law,” City
 of Boerne v. Flores, 521 U.S. 507, 534 (1997), and the compulsory-coverage regime
 comes nowhere close to satisfying this standard.

           B.   There Is No Compelling Governmental Interest In Forcing Private
                Insurers To Cover PrEP Drugs Without Any Cost-Sharing
                Arrangements
      The relevant “governmental interest” cannot be described with vague abstrac-
 tions, such as “promoting public health” or “gender equality.” See Hobby Lobby, 573
 U.S. at 726 (rejecting the government’s attempt to frame the “governmental inter-
 ests” in those terms). Instead, a court must “‘look beyond broadly formulated inter-
 ests’ and . . . ‘scrutinize the asserted harm of granting specific exemptions to particular

 religious claimants’ — in other words, to look to the marginal interest in enforcing the
 contraceptive mandate in these cases.” Id. at 726–27 (quoting Gonzales v. O Centro
 Espírita Beneficente Uniao do Vegetal, 546 U.S. 418, 431 (2006)). The government
 cannot possibly show that forcing private insurers to provide PrEP drugs, the HPV
 vaccine, and screenings and behavioral counseling for STDs and drug use free of
 charge is a policy of such overriding importance that it can trump religious-freedom
 objections.


 51. See notes 6, 22, 30 and accompanying text.


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     The first problem is that the Affordable Care Act does not even require insurers
 to cover PrEP drugs, the HPV vaccine, or screenings and behavioral counseling for

 STDs and drug use, because the statute is entirely agnostic on whether any of this
 should be included within the definition of “preventive care.” See 42 U.S.C. § 300gg-
 13(a)(4); App. 220. If there were a “compelling governmental interest” in ensuring
 access to free PrEP drugs and the HPV vaccine, then would expect to see that policy
 embodied in the Affordable Care Act or in some other act of Congress. Yet Congress
 was unwilling to require anyone — religious or non-religious — to provide coverage
 for PrEP drugs, the HPV vaccine, or screenings and behavioral counseling for STDs
 and drug use. Instead, Congress shrugged and punted these issues to the U.S. Pre-
 ventive Services Task Force. See, e.g., Little Sisters of the Poor, 140 S. Ct. at 2392 (Alito,
 J., concurring) (“We can answer the compelling interest question simply by asking
 whether Congress has treated the provision of free contraceptives to all women as a
 compelling interest.”).
     The second problem is that the Affordable Care Act explicitly exempts “grandfa-
 thered” plans from all of the preventive-care mandates, including the compulsory
 coverage of PrEP drugs, the HPV vaccine, and screenings and behavioral counseling
 for STDs and drug use. See Pub. L. No. 111-148 § 1251, codified at 42 U.S.C.
 § 18011(a). So the defendants must explain how the government’s interest in ensur-
 ing access to zero-cost PrEP drugs was not quite “compelling” enough to prevail over
 President Obama’s desire to allow individuals to keep their existing health-insurance

 plans,52 yet is compelling enough to prevail over another person’s religious freedom.
 See Fulton v. Philadelphia, 141 S. Ct. 1868, 1882 (2021) (holding that the existence
 of exceptions “undermines the City’s contention that its non-discrimination policies
 can brook no departures” and faulting the city for “offer[ing] no compelling reason

 52. See generally Michael D. Shear & Robert Pear, Obama in Bind Trying to Keep
     Health Law Vow, N.Y. Times (Nov. 12, 2013), https://nyti.ms/2HFH9JU.


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 why it has a particular interest in denying an exception to CSS while making them
 available to others.”).

     The third problem is that the Affordable Care Act categorically exempts employ-
 ers with fewer than 50 employees from the requirement to provide health insurance
 to their employees. See 26 U.S.C. § 4980H(c)(2). To be sure, those employers must
 comply with the preventive-care mandate (and the requirement to provide coverage
 of PrEP drugs, the HPV vaccine, and screenings and behavioral counseling for STDs
 and drug use) if they choose to provide health insurance, but there is no requirement
 that they provide insurance in the first place. This cannot be squared with the notion
 that the government has a “compelling” interest in making PrEP drugs and HPV
 vaccines available to all employees free of charge, and it proves that other policies —
 such as protecting small businesses from onerous regulatory burdens — can and
 should prevail over the goal of expanding access to this preventive care.
     Of course, some people believe very strongly that everyone (or many people as
 possible) should have the right to access PrEP drugs and HPV vaccines at no cost to
 them — and that they should therefore have the prerogative to compel others (includ-
 ing religious objectors) to involve themselves in providing these services. People who
 subscribe to that view will regard this compulsory coverage as furthering “compelling
 governmental interests,” to which any claim of religious freedom (or any other claim
 of constitutional right) should give way. But that belief is not reflected in any statute
 enacted by the people’s elected representatives — and it is not reflected the Affordable

 Care Act, which categorically exempts grandfathered plans for all of the agency-im-
 posed preventive-care mandates. There is no doubt that the compulsory coverage of
 PrEP drugs, the HPV vaccine, and screenings and behavioral counseling for STDs
 and drug use furthers important policies, but they are not the type of “compelling”
 interests that must always prevail over other competing values or policy objectives.




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        C.     Less Restrictive Means Are Available To Advance The Interests
               Served By The Compulsory Coverage Of PrEP Drugs
     Even if one thinks that the government has a “compelling” interest in ensuring

 access to free PrEP drugs, the HPV vaccine, and screenings and behavioral counseling
 for STDs and drug use, the plaintiffs still prevail because the compulsory-coverage
 requirement flunks the least-restrictive-means test. There is a simple and obvious al-
 ternative that avoids any imposition on the plaintiffs’ religious freedom while ensuring
 that every person in America can obtain PrEP drugs, the HPV vaccine, and screenings
 and behavioral counseling for STDs and drug use at zero marginal cost: The govern-
 ment could require all non-objecting doctors, pharmacists, hospitals, and other
 health-care providers to provide these services free of charge to any person whose
 insurance will not cover them, and allow those providers to seek reimbursement from
 the government for the services that they provide to uninsured or underinsured pa-
 tients.53 This regime would eliminate any involvement of religious objectors in the
 provision of PrEP drugs, the HPV vaccine, and screenings and behavioral counseling
 for STDs and drug use. It would also ensure that every person in America can access
 these services free of charge, including the uninsured and those with grandfathered
 plans — all of whom are left in the cold by the present-day iteration of the preventive-
 care mandates.

     Of course, Congress would need to enact legislation to implement this less re-
 strictive alternative. But the least-restrictive-means test does not turn on whether a
 less restrictive alternative is currently authorized by law. The statute requires the gov-
 ernment to use “the least restrictive means” of advancing a compelling interest; it does
 not limit this requirement to the least restrictive means available under existing law.


 53. Cf. Hobby Lobby, 573 U.S. 728 (“The most straightforward way of doing this
     would be for the Government to assume the cost of providing the four contra-
     ceptives at issue to any women who are unable to obtain them under their health-
     insurance policies due to their employers’ religious objections.”).


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 See 42 U.S.C. § 2000bb-1(b)(2); see also Hobby Lobby, 573 U.S. at 729–30 (“[W]e see
 nothing in RFRA that supports” the argument that “‘RFRA cannot be used to require

 creation of entirely new programs’ . . . and drawing the line between the ‘creation of
 an entirely new program’ and the modification of an existing program (which RFRA
 surely allows) would be fraught with problems.”). Courts that apply strict scrutiny in
 other contexts consider only whether it is possible to imagine a way to accomplish the
 purported goal in a manner that is less restrictive of constitutional freedoms — and
 they are entirely unconcerned with whether their imagined alternatives are authorized
 by existing law. See, e.g., McCullen v. Coakley, 134 S. Ct. 2518, 2530 (2014) (“In
 discussing whether the Act is narrowly tailored, . . . we identify a number of less-
 restrictive alternative measures that the Massachusetts Legislature might have
 adopted.” (emphasis added)); Church of Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S.
 520, 546 (1993) (“The proffered objectives . . . could be achieved by narrower ordi-
 nances that burdened religion to a far lesser degree.” (emphasis added)). RFRA’s strict
 scrutiny must be applied with at least as much rigor. See Hobby Lobby, 573 U.S. at 728
 (“The least-restrictive-means-standard is exceptionally demanding”).

                                  CONCLUSION
     The plaintiffs’ motion for summary judgment should be granted.

                                             Respectfully submitted.

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  Dated: November 15, 2021               Counsel for Plaintiffs




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